Case 6:07-cv-00204-LED Document 291-23 Filed 03/15/10 Page 1 of 2 PageID #: 16735




                            Exhibit V
      Case 6:07-cv-00204-LED
2/24/2010                        Document  291-23 Filed
                                      PlayStation.com      03/15/10
                                                      - About SCEA  Page 2 of 2 PageID #: 16736
                                                                                                                Find friends. Download demos.
                                                                                                                Join the conversation.



                                                                                                          Search PlayStation.com




 About SCEA


      Managem ent

      The PlayStation® Story

      PlayStation® Milestones

      Com m unity Involvem ent

      Resources

      Our Offices

      Careers

      Sponsorships

                                   Sony Computer Entertainment America Inc. (SCEA) is responsible for the
                                   continued growth of the PlayStation® market in the United States and Canada.
                                   Based in Foster City, California, SCEA serves as headquarters for all North
                                   American operations and is a wholly owned subsidiary of Sony Computer
                                   Entertainment Inc. (SCE) that reports directly back to SCE in Japan.



                                                     PlayStation Story                            Managem ent
                                                     See w here w e've been                       A Warm hello from the
                                                     and w here w e're going                      North American
                                                     10+ years of innovation                      PlayStation team
                                                                                                  Meet the Team


                                   SCEA's advanced hardware technology enables the most talented developers to
                                   produce vanguard titles, setting new standards in interactive entertainment. The
                                   PlayStation® family of products has taken home entertainment to never before
                                   imagined heights - whatever your interests, the PlayStation® entertainment
                                   products have something for you.




                                     Forums                                    Contact Us                                 Consumer Alerts

                                     Support                                   About SCEA                                 Privacy Policy

                                     Where to Buy                              Careers                                    Site Map

                                     Register your Product                     Press Releases                             Country Selector

                                   © 2009 Sony Computer Entertainment America Inc. All Rights Reserved.                   Terms of Serv ice




www.us.playstation.com/…/About                                                                                                                  1/1
